Recaries

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Toft

UNITED COLLECTION BUREAU, INC. June 1, 2018
5620 SOUTHWYCK BLVD SUITE 206
TOLEDO OH 43614 1-888-222-0091

ANNA SOLOVYOVA
2881 W 12TH ST APT 9A
BROOKLYN NY 11224-3022

Creditor: DEPARTMENT STORES NATIONAL BANK (DSNB)
Regarding: BLOOMINGDALES

Last Four Digits of Creditor Account Number: XXXXXKXXKKKX6625

United Collection Bureau, Inc. Reference Number: HH 846

Account Balance: $3904.05

Dear ANNA SGLOVYOVA:

Great News!!! United Collection Bureau, Inc, acting on behalf of DEPARTMENT STORES NATIONAL BANK (DSNB), is willing to reduce
your balance by offering you the following settlement offers:

REPAYMENT PLAN OPTIONS

 

Option #1 A lump sum payment of $3,201.32 to settle the account, due by 06-22-2018.
(Refer to plan 4809497) (A 18% savings)

Option #2 _ A settlement of $3,318.44 in six payments, the first payment of $553.09 due by the 22nd of this month and five additional
payments of $553.07 due by the 22nd of each month.
(Refer to plan 4809498) (A 15% savings)

Upon the timely receipt of the entire agreed upon settlement amount and clearance of funds this account will be settled and United Collection
Bureau, Inc. will report the settlement to your creditor. We are not obligated to renew these offers.

 

 

 

HOW TO TAKE ADVANTAGE OF ONE OF THE REPAYMENT PLAN OFFERS???
3 Easy Ways to Pay:

 

¢ Call us toll free at 1-888-222-0091 to schedule your plan.
e Please scan the QR code below to be directed to our website to make a payment, or you can go to: www.ucbinc.com, click on make a

payment and follow the prompts. fez]
* Mail the bottom tear off portion of this letter and return with your payment in the envelope provided. i
* Please make payments payable to DSNB. El

 

 

If for any reason you are unable to take advantage of the two options listed above, please call us at 1-888-222-0091 and we will customize a
repayment plan for you.

 

 

 

Please contact the undersigned with respect to any questions or concems you may have.

Sincerely,
Brian Macionsky
United Collection Bureau, Inc.

Business Hours: 8:00 a.m. — 9:00 p.m. ET Monday — Thursday
$:00 a.m, — 7:00 p.m. ET Friday

This is an attempt to collect a debt by United Collection Bureau, Inc., a debt collector, and any information obtained will be used for that
purpose.
Please select one of the options listed on the back tear off portion of this letter, and return it with your payment.

SEE REVERSE SIDE FOR IMPORTANT INFORMATION
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MSE YOUR PAYMENT PAYABLE TO DSNB.

Creditor: DEPARTMENT STORES NATIONAL BANK (DSNB)
Regarding: BLOOMINGDALES
Last Four Digits of Creditor Account Number: MXXKKXXKAKXANN G25
PO BOX 1448
MAUMEE OH 43537 Account Balance: $3904.05
United Collection Bureau, Inc. Reference No: M846
ADDRESS SERVICE REQUESTED United Collection Bureau, Inc. Telephone No: 1-888-222-0091
ees RE MT 7: ee
June 1, 2018 UNITED COLLECTION BUREAU, INC,
PO BOX 1448
MAUMEE OH 43537
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ANNA SOLOVYOVA

866316097

2881 W 12TH ST APT 9A
BROOKLYN NY 11224-3022

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We are required under state law to notify consumers of the following rights. This list does not contain a complete list of the
rights consumers have under state and federal law.

When you provide a check as payment, you authorize us cither to use information from your check to make a one-time
electronic fund transfer from your account or to process the payment as a check transaction.

CALIFORNIA: The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act
require that, except under unusual circumstances, collectors may not contact you before 8 a.m. or after 9 p.m. They may not
harass you by using threats of violence or arrest or by using obscene language. Collectors may not use false or misleading
statements or call you at work if they know or have reason to know that you may not receive personal calls at work. For the
most part, collectors may not tell another person, other than your attorney or spouse, about your debt. Collectors may contact
another person to confirm your location or enforce a judgment. For more information about debt collection activities, you may
contact the Federal Trade Commission at 1-877-FTC-HELP or www.ftc.gov. Nonprofit credit counseling services may be
available in the area,

COLORADO: FOR INFORMATION ABOUT THE COLORADO FAIR DEBT COLLECTION PRACTICES ACT, SEE
WWwW.COAG.GOV/CAR. A consumer has the right to request in writing that a debt collector or collection agency cease
further communication with the consumer. A written request to cease communication will not prohibit the debt collector or
collection agency from taking any other action authorized by law to collect the debt, Payments can be made in person at:
Colorado Manager, Inc,, Building B, 80 Garden Center, Suite 3, Broomfield, Colorado 80020, 303-920-4763.

IDAHO: Toll Free 1-866-209-0622 during normal business hours.

KANSAS: An investigative consumer report, which includes information as to your character, general reputation, personal
characteristics and mode of living, may have been requested. You have the right to request additional information, which
includes the nature and scope of the investigation.

MAINE: Hours of operation (ET): Monday through Thursday, 8:00 a.m. to 8:00 p.m.; Friday, 8:00 a.m. to 5:00 p.m.

MASSACHUSETTS: **NOTICE OF IMPORTANT RIGHTS** You have the right to make a written or oral request that
telephone calls regarding your debt not be made to you at your place of employment. Any such oral request will be valid for
only ten days unless you provide written confirmation of the request postmarked or delivered within seven days of such request.
You may terminate this request by writing to the debt collector. Hours of operation (ET): Monday through Thursday, 8:00 a.m.
to 8:00 p.m.; Friday, 8:00 a.m. to 5:00 p.m.

MINNESOTA: This collection agency is licensed by the Minnesota Department of Commerce.
NEW YORK CITY: New York City Department of Consumer Affairs License Number 1004887.
NORTH CAROLINA: North Carolina Permit Numbers: 101866, 3843, 4022 and 4367.

TENNESSEE: This collection agency is licensed by the Collection Service Board of the Department of Commerce and
Insurance.

WISCONSIN: This collection agency is licensed by the Division of Banking in the Wisconsin Department of Financial
Institutions, www.wdfi.org.

If you have a concern about the way we are collecting this debt, please call our toll-free Consumer Service Hotline at 1-866-
209-0622, email us at UCBCompliance@ucbinc.com, or mail us at United Collection Bureau, Inc., Compliance Department,
3620 Southwyck Blvd, Ste 206, Toledo, OH 43614. Please include your account number on all communication.

UCBYV15 08.23.17

 

Please select one of the following options and return with your payment:

Q) Repayment Option #1 Enclosed is my payment of $3,201.32 (a 18% discount). This payment will settle my account,
upon clearance of funds.

C) Repayment Option #2 Enclosed is my first payment of $553.09 towards the settlement balance of $3,318.44 (a 15%
discount).

 

 

 
